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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER M. THOMAS,                         :       CIVIL ACTION
         Plaintiff,                            :
                                               :
       v.                                      :       No.: 17-cv-1568
                                               :
POLICE OFFICER EDWARD TODD,                    :
          Defendant.                           :

                                     SCHEDULING ORDER

       AND NOW, this           2nd    day of August, 2018, the Court enters the following ORDER:

       (1)      All motions in limine shall be filed no later than    October 5, 2018               ;

       (2)      Responses to motions in limine shall be filed no later than     October 15, 2018 ;

       (3)      The parties shall agree upon and submit joint, proposed jury instructions and joint

                proposed verdict slip no later than   October 26, 2018        . The parties shall refer

                to this Court’s Policies and Procedures for further instruction in this regard; 1

       (4)      On or before    November 9, 2018 , the parties shall supply the Court with TWO

                COPIES of each trial exhibit in a ring binder tabbed by exhibit number, and TWO

                COPIES of a schedule of exhibits which shall briefly describe each exhibit;

       (5)      A final pretrial conference shall be held on    November 13, 2018       at 9:30 A.M.,

                in Courtroom 3-E, James A. Byrne United States Courthouse, 601 Market Street,

                Philadelphia, Pennsylvania. The parties shall exchange proposed voir dire

                questions prior to the pretrial conference, and the parties shall provide the Court

                with copies of the same at least two (2) days prior to the pretrial conference.

                Thereafter, a jury trial shall commence before this Court, with the selection of a


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         This Court’s Policies and Procedures are available online, at:
http://www.paed.uscourts.gov/documents/procedures/sitpol.pdf
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      jury.

(6)   Opening arguments shall begin immediately after the selection of a jury on

      November 13, 2018.

              This Order shall serve as a formal attachment for trial.


                                     BY THE COURT:


                                       /s/ Lynne A. Sitarski
                                     LYNNE A. SITARSKI
                                     United States Magistrate Judge




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